                                    Instruction No. __
             (Explanatory: General; Nature of Case; Duty of Jury; Cautionary)

       Members of the Jury: I am now going to give you some instructions about this case and

about your duties as jurors. At the end of the trial I will give you more instructions. I may also give

you instructions during the trial. All instructions - those I give you now and those I give you later

- whether they are in writing or given to you orally – are equally important and you must follow

them all.

       You must leave your cell phone, PDA, smart phone, iPhone, tablet computer, and any other

wireless communication devices in the jury room during the trial and may only use them during

breaks. However, you are not allowed to have those devices in the jury room during your

deliberations. You may give them to the Courtroom Deputy for safekeeping just before you start

to deliberate. They will be returned to you when your deliberations are complete.

       This is a civil class action lawsuit. The Plaintiffs representing the class are Rhonda Burnett,

Jerod Briet, Jeremy Keel, Hollee Ellis, and Francis Harvey.            Defendants are the National

Association of Realtors, HomeServices of America, Inc., BHH Affiliates, LLC, HSF Affiliates,

LLC, and Keller Williams Realty, Inc. Plaintiffs claim that the Defendants, along with Anywhere

Real Estate, Inc. (formerly known as Realogy Holdings Corporation), and RE/MAX LLC, violated

the federal Sherman Antitrust Act by entering into a combination or conspiracy to follow and

enforce a rule adopted by the National Association of Realtors, which had the purpose or effect of

raising, inflating, or stabilizing broker commission rates paid by home sellers. As a result,

Plaintiffs claim Defendants are liable for damages caused to Plaintiffs and the Class. Defendants

deny that they violated any law, as well as the existence and amount of any damages. It will be

your duty to decide from the evidence what party is entitled to your verdicts.




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 1 of 7
        Your duty is to decide what the facts are from the evidence. You are allowed to consider

the evidence in the light of your own observations and experiences. After you have decided what

the facts are, you will have to apply those facts to the law that I give you in these and in my other

instructions. That is how you will reach your verdict. Only you will decide what the facts are.

However, you must follow my instructions, whether you agree with them or not. You have taken

an oath to follow the law that I give you in my instructions.

        In deciding what the facts are, you may have to decide what testimony you believe and

what testimony you do not believe. You may believe all of what a witness says, or only part of it,

or none of it.

        In deciding what testimony to believe, consider the witnesses’ intelligence, their

opportunity to have seen or heard the things they testify about, their memories, any reasons they

might have to testify a certain way, how they act while testifying, whether they said something

different at another time, whether their testimony is generally reasonable, and how consistent their

testimony is with other evidence that you believe.

        Do not let sympathy, or your own likes or dislikes, influence you. The law requires you to

come to a just verdict based only on the evidence, your common sense, and the law that I give you

in my instructions, and nothing else.

        Nothing I say or do during this trial is meant to suggest what I think of the evidence or

what I think your verdict should be.



Revised Plaintiffs’ Proposed Instruction No. 1

Source:          Eighth Circuit Model Civil Instruction 1.03




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 2 of 7
                                      Instruction No. __
                        (Scope of Alleged Combination or Conspiracy)


       The Class Plaintiffs allege the existence of a combination or conspiracy to follow and

enforce a “Mandatory Offer of Compensation Rule” adopted by the National Association of

Realtors, that applied to the Multiple Listing Services in Kansas City, St. Louis, Springfield, and

Columbia, Missouri, during the period from April 29, 2015, through June 30, 2022. The Class

Plaintiffs claim that the members of this combination or conspiracy were Defendants National

Association of Realtors, HomeServices of America, Inc., BHH Affiliates, LLC, HSF Affiliates,

LLC, and Keller Williams Realty, Inc., along with Anywhere Real Estate, Inc. (formerly known

as Realogy Holdings Corporation), and RE/MAX LLC. The Class Plaintiffs further claim that the

purpose or effect of this rule was to raise, inflate, or stabilize broker commission rates paid by

home sellers. As a result, the Class Plaintiffs claim they and the class members suffered injury in

the form of damages, in that they paid higher real estate commissions when selling their homes

than they would have paid if the Mandatory Offer of Compensation Rule had not existed.

       Defendants deny that they agreed to adopt or follow the Mandatory Offer of Compensation

Rule, or that they compelled their subsidiaries, affiliates, or franchisees to adopt or follow such a

rule. Defendants also dispute the fact and amount of any damages.



Plaintiffs’ New Proposed Instruction No. 37

Sources:       In re Urethane Antitrust Litig., Case No. 2:04-md-01616-JWL (D. Kan.),
               Instruction No. 12 (Doc. 2797)




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 3 of 7
                                     Instruction No. __
                      (Absence of Other Potentially Responsible Parties)


       The fact that Anywhere Real Estate, Inc., RE/MAX LLC, or any other real estate

companies, brokers, or agents are not here as defendants has nothing to do with the merits of the

claims against the named Defendants, and must not play any part in your consideration of this case.

You should not hold the absence of these real estate companies, brokers, or agents from this trial

against either the Class Plaintiffs or Defendants.



Revised Plaintiffs’ Proposed Instruction No. 14

Sources:       In re Urethane Antitrust Litig., Case No. 2:04-md-01616-JWL (D. Kan.),
               Instruction No. 18 (Doc. 2797)




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 4 of 7
                                     Instruction No. __
                            (Damages – Joint and Several Liability)


       Each participant in a conspiracy that violates the antitrust laws is jointly and severally liable

for all of the damages resulting from the conspiracy. This means that each conspirator is fully

liable for all of the damages caused by the conspiracy and not solely for damages caused by an

individual conspirator. One who knowingly joins an ongoing conspiracy is liable for the previous

acts of the other conspirators in furtherance of the conspiracy.

       If you find that the Class Plaintiffs have proven the existence of the alleged conspiracy,

that a Defendant participated in the conspiracy, and that the Class Plaintiffs are entitled to recover

damages based on the other instructions in this case, then that Defendant would be liable for all

damages caused by the conspiracy, including any overcharges on the payment of real estate

commissions.

       Thus, in that event, such Defendant would be liable for overcharges on all payments of real

estate commissions by the Class Plaintiffs in connection with transactions with any member of the

conspiracy, and not merely on transactions with that Defendant. If, however, you find that any of

the other alleged conspirators were not a member of the conspiracy (including Anywhere Real

Estate, Inc. or RE/MAX LLC), then Defendants would not be liable for damages based on the

Class Plaintiffs’ transactions with those alleged conspirators.



Revised Plaintiffs’ Proposed Instruction No. 18

Sources:       ABA Model Jury Instructions in Civil Antitrust Cases
               Chapter 6.B, Instruction 17

               In re Urethane Antitrust Litig., Case No. 2:04-md-01616-JWL (D. Kan.),
               Instruction No. 21 (Doc. 2797)




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 5 of 7
                                         VERDICT FORM


       1.      Do you find that a combination or conspiracy existed to follow and enforce the

Mandatory Offer of Compensation Rule in the subject MLSs during the conspiracy period alleged

in this case – April 29, 2015 through June 30, 2022?

YES    _______          NO     _______

If your answer to Question 1 is “Yes”, proceed to Question 2. If your answer to Question 1 is
“No”, stop here and your deliberations are complete; do not answer any remaining questions on
this Verdict Form, and proceed to the signature page.



       2.      Do you find that the combination or conspiracy set forth in Question 1 had the

purpose or effect of raising, inflating, or stabilizing broker commission rates paid by home sellers?

YES    _______          NO     _______

If your answer to Question 2 is “Yes”, proceed to Question 3. If your answer to Question 2 is
“No”, stop here and your deliberations are complete; do not answer any remaining questions on
this Verdict Form, and proceed to the signature page.


       3.      Which of the following corporations or entities do you find knowingly and

voluntarily joined the combination or conspiracy set forth in Question 1 with the purpose of

furthering its goals?

       National Association of Realtors                YES    _____ NO       _____

       HomeServices of America, Inc.                   YES    _____ NO       _____

       BHH Affiliates, LLC                             YES    _____ NO       _____

       HSF Affiliates, LLC                             YES    _____ NO       _____

       Keller Williams Realty, Inc.                    YES    _____ NO       _____




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 6 of 7
       4.      Do you find that the combination or conspiracy set forth in Question 1 caused the

Class Plaintiffs to pay more for real estate brokerage services when selling their homes than they

would have paid absent that combination or conspiracy?

YES    _______        NO      _______

If your answer to Question 4 is “Yes”, proceed to Question 5. If your answer to Question 4 is
“No”, stop here and your deliberations are complete; do not answer any remaining questions on
this Verdict Form, and proceed to the signature page.



       5.      State the amount of damages proved by the Class Plaintiffs.

            $ _________________________________________________________



Your deliberations are complete. Please have the foreperson sign and date this verdict form and
notify the Court that you have reached a verdict.


_________________                                   _______________________________
Date                                                Foreperson


Plaintiffs’ Proposed Verdict Form (revised)

Sources:       In re Urethane Antitrust Litig., Case No. 2:04-md-01616-JWL (D. Kan.), Verdict
               Form (Doc. 2799)




       Case 4:19-cv-00332-SRB Document 1180-1 Filed 10/04/23 Page 7 of 7
